610 F.2d 438
    104 L.R.R.M. (BNA) 2632, 88 Lab.Cas.  P 11,851
    AUTOMOBILE CLUB OF MICHIGAN, Detroit AutomobileInter-Insurance Exchange, Motor Land InsuranceCompany and Group Insurance Company ofMichigan, Petitioners,v.NATIONAL LABOR RELATIONS BOARD, Respondent,Michigan AAA Sales Association, Inc., Intervenor.
    No. 77-1560.
    United States Court of Appeals,
    Sixth Circuit.Dec. 11, 1979.
    
      Kalvin M. Grove, Burton L. Reiter, Fox &amp; Grove, Lawrence M. Cohen, Chicago, Ill., Theodore Souris, Bodman, Longley, Bogle, &amp; Dahling, Detroit, Mich., for petitioners.
      Elliott Moore, Marjorie S. Gofreed, Deputy Associate Gen. Counsel, Christopher Katzenbach, N.L.R.B., Washington, D. C., Bernard Gottfried, Director, Region 7, N.L.R.B., Detroit, Mich., for respondent.
      Robert McWhorter, Kalamazoo, Mich., John H. Morad, Bolanowski, Brennan &amp; O'Toole, Warren, Mich., for intervenor.
      Before WEICK, CELEBREZZE and KENNEDY, Circuit Judges.
    
    ORDER
    
      1
      This case is before the court on petition to review and cross-petition for enforcement of an order of the National Labor Relations Board finding petitioners in violation of § 8(a)(1) of the National Labor Relations Act, 29 U.S.C. § 158(a)(1).  The Board predicated its conclusions on a finding that petitioner discharged certain employees for issuing a press release concerning a lawsuit which they had filed against petitioners.  The Board concluded that the issuance of this press release was a protected concerted activity under § 7 of the Act and that petitioners' discharge of these employees for engaging in that activity violated § 8(a)(1) of the Act.  The Board's decision and order is reported at 231 NLRB No. 99 and these petitions are properly before the court since the alleged unfair labor practice occurred in Detroit, Michigan.  29 U.S.C. §§ 160(e) and (f).
    
    
      2
      This court, having reviewed the record on appeal, the briefs and oral argument of counsel for the parties and the court being fully advised in the premises finding the Board's findings to be supported by substantial evidence on the record as a whole, its inferences fair, and its conclusions not contrary to law, Accordingly,
    
    
      3
      It is ORDERED that the decision and order of the Board be and hereby is enforced in full.
    
    